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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                            WICHITA FALLS DIVISION

THOMAS WAYNE FLORENCE,                      §
TDCJ No. 01147601,                          §
                                            §
       Petitioner,                          §
                                            §
v.                                          §    Civil Action No. 7:20-cv-00142-M-BP
                                            §
ANDREA LOZADA, et al.,                      §
                                            §
       Defendants.                          §

             ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

in this case. The District Court reviewed the proposed Findings, Conclusions, and

Recommendation de novo. Finding no error, the Court ACCEPTS the Findings, Conclusions,

and Recommendation of the United States Magistrate Judge.

       Accordingly, Plaintiff’s Complaint (ECF No. 3) is DISMISSED without prejudice.

       SO ORDERED this 12th day of January, 2021.



                                          _________________________________
                                          BARBARA M. G. LYNN
                                          CHIEF JUDGE
